IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.

Dated: December 10, 2019.
                                                     __________________________________
                                                            H. CHRISTOPHER MOTT
                                                     UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

IN RE:                                           §
                                                 §
TINO CALDERON & RAYMOND                          §
MCDERMETT,                                       §     CASE NO. 19-11240-HCM-7
                                                 §
         DEBTORS.                                §

                    ORDER TERMINATING THE AUTOMATIC STAY
         There came on before this Court, the Motion of TD Auto Finance LLC for Relief from
Automatic Stay ("Motion") filed by TD Auto Finance LLC ("TDAF"), complaining of Tino
Calderon & Raymond McDermett ("Debtors") and Ron Satija ("Trustee"). TDAF was
represented by and through Stephen G. Wilcox of the firm of Wilcox Law, P.L.L.C. Debtors,
although served with a copy of the Motion, individually and through their attorney of record,
failed to respond. The Chapter 7 Trustee, although served with a copy of the Motion, failed to
respond.
         IT IS THEREFORE ORDERED that:
         1.     The automatic stay is terminated immediately as to the 2019 Dodge Ram 1500,
Vehicle Identification Number 1C6RREHT1KN502621 account number ending in 8280,
described in the Motion on file herein.
         2.     TDAF may repossess and sell its Collateral without further notice to the Debtors,
the Trustee or any other party-in-interest. TDAF may also obtain all writs and other court orders

                                              Page 4
necessary to obtain possession of its Collateral in the event it is not voluntarily surrendered.
         IT IS SO ORDERED.

                                               ###

PREPARED BY:

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953-02320-498262




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